Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 1 of 25 PagelD 1

FILED

UNITED STATES DISTRICT COURT 7I9HAR27 rn lt .
MIDDLE DISTRICT OF FLORIDA. I OUR
TAMPA DIVISION MIDDLE 2 5EVCRIGA

 

UNITED STATES OF AMERICA
CASENO, %:1®4e\ yo | 3ssss

Vv.

18 U.S.C. § 371
FRANK VINCENT MONTE and 42 U.S.C. § 1320a-7b(b)(2)(B)
KIMBERLEY SUE ANDERSON 18 U.S.C. § 1001

18 U.S.C. § 1956(h)
18 U.S.C. § 1957

INDICTMENT

The Grand Jury charges:

 

COUNT ONE
(Conspiracy)

A. Introduction
At times material to this Indictment:
le Frank Vincent Monte (“Monte”) was a resident of the Middle
District of Florida and the President, founder, co-owner, and co-operator of
Centurion Holding, Inc.

2. Kimberley Sue Anderson (“Anderson”) was a resident of the
Middle District of Florida and the Vice President, co-owner, and co-operator

of Centurion Holding, Inc.
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 2 of 25 PagelD 2

3. Centurion Holding, Inc. was a Florida corporation and the
registered agent for Centurion Compounding, Inc. (collectively “Centurion’”).
Centurion was a marketing firm located in Pasco County in the Middle
District of Florida co-owned and co-operated by Monte and Anderson.
Centurion employed sales representatives as independent contractors to
market expensive compounded medications, specifically creams for pain and
scars, among others, to beneficiaries of health care benefit programs.
Centurion focused its promotional efforts on TRICARE beneficiaries based
upon an understanding and belief that TRICARE would pay claims for these
expensive compounded creams. Centurion directed the patients it recruited
and the physicians in its network to send all of their prescriptions for these
compounded creams to Centurion, which transmitted the prescriptions to
LifeCare Pharmacy to be filled.

4. Pharmland LLC, d/b/a LifeCare Pharmacy (“LifeCare
Pharmacy”), was a retail and compounding pharmacy located in Pinellas
County in the Middle District of Florida co-owned and co-operated by Carlos
Mazariegos and Benjamin Nundy. LifeCare Pharmacy produced

compounded creams for scars, pain, and other ailments, among other things.

LifeCare Pharmacy billed TRICARE, Medicare, and other health care benefit
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 3 of 25 PagelD 3

programs for these creams, each of which typically ranged in price from
approximately $900 to $21,000 for a one-month supply.

5. LifeCare Pharmacy was engaged in a marketing relationship with
Centurion pursuant to which LifeCare Pharmacy paid Centurion an illegal
kickback of approximately 50% of each claim paid by TRICARE, Medicare,
or other health care benefit program, minus expenses, for each prescription
Centurion submitted to LifeCare Pharmacy to be filled. Centurion paid its
sales representatives a percentage of the paid claims it received from LifeCare
Pharmacy, which ranged from 15-30% of the total claim amount after
expenses.

6. Anthony Baldizzi was a licensed medical doctor who resided and
practiced medicine in the Middle District of Florida. As part of his practice,
Dr. Baldizzi prescribed compounded creams to patients who were directed to
fill these prescriptions at LifeCare Pharmacy. Many of these compounded
creams were marketed by Centurion for whom Dr. Baldizzi served as an “in
network” physician.

7. TRICARE was a federal health insurance program that provided

coverage for U.S. military members, retirees, and their family members.
TRICARE was a federal health care benefit program, as defined by Title 18,

United States Code, Section 24(b), and a federal health care program, as

3
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 4 of 25 PagelD 4

defined in Title 42, United States Code, Section 1320a-7b(f). Individuals who
received benefits from TRICARE were commonly referred to as TRICARE
beneficiaries.

8. Medicare was a federal health insurance program that provided
coverage for people age 65 and older, people under 65 with certain disabilities,
and people of all ages with end-stage renal disease. Medicare was a health
care benefit program as defined by Title 18, United States Code, Section 24(b),
and a federal health care program, as defined in Title 42, United States Code,
Section 1320a-7b(f). Individuals who received benefits from Medicare were
commonly referred to as Medicare beneficiaries.

B. The Conspiracy

9. Beginning on an unknown date, but at least as early as in or
around May 2014, and continuing through and including the date of this
Indictment, in the Middle District of Florida and elsewhere, the defendants,

FRANK VINCENT MONTE
and
KIMBERLEY SUE ANDERSON,

did knowingly and willfully combine, conspire, confederate and agree with
others, both known and unknown to the Grand Jury, including Carlos
Mazariegos, Benjamin Nundy, and Dr. Anthony Baldizzi, to commit certain

offenses against the United States, specifically:
4
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 5 of 25 PagelID 5

a. the offering and paying of health care kickbacks, in
violation of 42 U.S.C. § 1320a-7b(b)(2)(B);
b. the soliciting and receiving of health care kickbacks, in
violation of 42 U.S.C. § 1320a-7b(b)(1)(A); and
Cc. healthcare fraud, in violation of 18 U.S.C. § 1347.
C. Manner and Means
10. The manner and means by which the defendants and their
coconspirators sought to accomplish the purposes of the conspiracy included,
among other things:
a. It was a part of the conspiracy that conspirators Carlos
Mazariegos and Benjamin Nundy would and did own and operate LifeCare
Pharmacy, which filled retail prescriptions and produced compounded
medications, particularly expensive creams, prescribed by coconspirator Dr.
Baldizzi and other physicians.
b. It was further part of the conspiracy that conspirators
Monte and Anderson would and did own and operate Centurion, a marketing
firm. Centurion recruited patients to obtain prescriptions for expensive

compounded creams that would be paid for by TRICARE, Medicare, and

other health benefit programs.
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 6 of 25 PagelD 6

c. It was further part of the conspiracy that conspirators
Mazariegos and Nundy would and did cause LifeCare Pharmacy to enter into
an unlawful marketing agreement with Monte and Anderson at Centurion,
which the conspirators memorialized in a document entitled “Referral
Agreement.” In the Referral Agreement, LifeCare Pharmacy agreed to pay
and did in fact pay illegal kickbacks to Centurion equal to approximately 50%
of the proceeds of claims paid to LifeCare Pharmacy by TRICARE, Medicare,
and other health care benefit programs, after expenses, for prescriptions for
compounded medications that Centurion directed to LifeCare Pharmacy to be
filled.

d. It was further part of the conspiracy that the conspirators
would and did bill and cause to be billed TRICARE, Medicare, and other
health benefit programs for compounded creams Dr. Baldizzi and other
physicians prescribed to TRICARE and Medicare beneficiaries, among others,
which prescriptions LifeCare Pharmacy filled.

e. It was further part of the conspiracy that conspirators
Mazariegos and Nundy would and did open and control bank accounts in the
name of LifeCare Pharmacy into which funds from TRICARE, Medicare, and

other health benefit programs were received as a result of claims for payment
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 7 of 25 PagelD 7

LifeCare Pharmacy submitted for compounded cream prescriptions marketed
by Centurion and written by Dr. Baldizzi and other physicians.

f. It was further part of the conspiracy that conspirators
Monte and Anderson would and did open and control bank accounts in the
name of Centurion into which illegal kickbacks from LifeCare Pharmacy were
deposited.

g. It was further part of the conspiracy that the conspirators
would and did cause Centurion, as directed by Monte and Anderson, to
employ sales representatives to recruit patients to be seen by physicians and
provide said patients with preprinted prescriptions featuring compounded
medications with high rates of reimbursement for such generalized ailments as
pain and scars. The physicians, including Dr. Baldizzi, would and did
prescribe these Centurion-marketed compounded creams, which prescriptions
were routed through Centurion to LifeCare Pharmacy to be filled.

h. It was further part of the conspiracy that the conspirators
would and did direct Centurion-recruited patients, many of whom were
TRICARE beneficiaries, to Dr. Baldizzi and other physicians to obtain
prescriptions for Centurion-marketed compounded creams, which

prescriptions LifeCare Pharmacy filled.
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 8 of 25 PagelD 8

1. It was further part of the conspiracy that Dr. Baldizzi,
working at the direction of Monte, Anderson, and other conspirators at
Centurion, would and did operate temporary, after-hours, offsite clinics at
hotels and retail stores in the Middle District of Florida to see high volumes of
Centurion-recruited patients, many of whom were TRICARE beneficiaries,
and prescribe Centurion-marketed compounding creams, which prescriptions
were filled at LifeCare Pharmacy.

j. It was further part of the conspiracy that conspirators
Mazariegos and Nundy on behalf of LifeCare Pharmacy, and Monte and
Anderson on behalf of Centurion, would and did agree to pay, and did in fact
pay, illegal kickbacks to Dr. Baldizzi equal to approximately 10% of the after-
cost amount of each claim paid by TRICARE, Medicare, and other health
care benefit programs for prescriptions for compounded medications written
by Dr. Baldizzi and filled by LifeCare Pharmacy for Centurion-recruited
patients.

k. It was further part of the conspiracy that the conspirators
would and did agree that the amount of Dr. Baldizzi’s kickbacks would be
split evenly between LifeCare Pharmacy (5%) and Centurion (5%).

1. It was further part of the conspiracy that the conspirators

would and did agree that LifeCare Pharmacy and Mazariegos would pay Dr.

8
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 9 of 25 PagelD 9°

Baldizzi his illegal kickbacks by deducting Centurion’s portion of the
kickbacks it owed to Dr. Baldizzi (5%) from Centurion’s percentage of the
proceeds owed to it pursuant to the Referral Agreement, and combining those
funds with LifeCare Pharmacy’s portion of the illegal kickbacks (5%) due to be
paid to Dr. Baldizzi.

m. It was further part of the conspiracy that Dr. Baldizzi
would and did make periodic demands to the conspirators and others for the
payment of kickbacks via telephone calls, text messages, and/or in-person
conversations during which the conspirators, to avoid detection, would and
did refer to the payment of kickbacks as the delivery of “FedEx” or “UPS”
packages.

n. It was further part of the conspiracy that the conspirators
would and did promise to pay kickbacks, and did in fact, make cash payments
and provide other things of value to Dr. Baldizzi, including payment for a
BMW automobile, as kickbacks for writing prescriptions for compounded
creams for Centurion-recruited patients, many of whom were TRICARE
beneficiaries, which prescriptions were filled at LifeCare Pharmacy.

O. It was further part of the conspiracy that the conspirators
would and did use the proceeds from TRICARE and other health care benefit

programs to purchase luxury vehicles, real estate, and other things of value.

9
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 10 of 25 PagelD 10

p. It was further part of the conspiracy that the conspirators
and others would and did perform acts and make statements to hide and
conceal and cause to be hidden and concealed the purpose of the conspiracy
and the acts committed in furtherance thereof.

D. Overt Acts
11. In furtherance of the conspiracy and to effect the objects thereof,
the conspirators committed and caused to be committed, within the Middle
District of Florida and elsewhere, the following overt acts, among others:

a. On or about the dates set forth below, each of which
constitutes a separate overt act, the conspirators agreed to pay, and did in fact
pay Baldizzi remuneration in the approximate amounts listed below to induce
Dr. Baldizzi to arrange for the writing of prescriptions for Centurion-marketed
compounded creams for Centurion-recruited patients, which prescriptions
were filled at LifeCare Pharmacy and claims for which were paid in whole or

in part by a federal health care benefit program:

10
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 11 of 25 PagelD 11

 

 

 

 

 

 

Overt Act | Date ___ | Approximate Kickback Amount.
at “August id, 14] (7415.78 —
a.2 August 26, 2014 $31,730.46

a.3 September 12,2014 | $61,667.34

a.4 September 28,2014 | $33,115.32

a.5 December 3, 2014 $71,900.00

 

 

 

 

 

All in violation of 18 U.S.C. § 371.

COUNTS TWO THROUGH SIX
(Offering and Paying of Health Care Kickbacks)

A. Introduction

1. The Grand Jury hereby realleges Paragraphs | through 8 and 10
of Count One of this Indictment and incorporates such paragraphs by this

reference as though fully set forth herein.

B. Offense

2. On or about the dates listed below, in the Middle District of

Florida and elsewhere, the defendants,

FRANK VINCENT MONTE
and
KIMBERLEY SUE ANDERSON,

11
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 12 of 25 PagelD 12

did knowingly and willfully offer and pay any remuneration (including
kickbacks and bribes), directly and indirectly, overtly and covertly, in cash and
in kind, to any person to induce such person to purchase and order, and
arrange for and recommend purchasing and ordering any good, service, and
item for which payment may be made in whole and in part under a Federal
health care program, specifically remuneration in the approximate amounts
listed below to induce Dr. Baldizzi to arrange for the writing of prescriptions
for Centurion-marketed compounded creams for Centurion-recruited patients,
which prescriptions were filled at LifeCare Pharmacy and claims for which

were paid in whole or in part by TRICARE and Medicare:

 

 

 

 

 

 

THREE August 26, 2014 $31,730.46
FOUR September 12, 2014 | $61,667.34
FIVE September 28, 2014 | $33,115.32
SIX December 3, 2014 $71,900.00

 

 

 

 

 

In violation of 42 U.S.C. § 1320a-7b(b)(2)(B) and 18 U.S.C. § 2.

12
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 13 of 25 PagelD 13

COUNT SEVEN
(False Statements)

A. Introduction

1. The Grand Jury hereby realleges Paragraphs 1 through 8 and 10
of Count One of this Indictment and incorporates such paragraphs by this
reference as though fully set forth herein.

B. Offense

2. On or about May 10, 2016, in the Middle District of Florida and

elsewhere, the defendant,
FRANK VINCENT MONTE,

did knowingly and willfully make a materially false, fictitious, and fraudulent
statement and representation in a matter within the jurisdiction of the
executive branch of the Government of the United States by making false
statements at the United States Attorney’s Office for the Middle District of
Florida, in Tampa, Florida, to agents of the Federal Bureau of Investigation,
Defense Criminal Investigative Service, Health and Human Services-Office of
Inspector General and others, denying that he participated in or knew
anything about the payment or promise of payment of kickbacks to Dr.
Anthony Baldizzi prior to December 2014. The statements and
representations were false because, as FRANK VINCENT MONTE then and

13
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 14 of 25 PagelD 14

there knew, prior to December 2014, he paid and promised to pay kickbacks
to Dr. Anthony Baldizzi in the form of cash and other things of value in
exchange for the writing of prescriptions for compounded medications
marketed by Centurion and filled at Lifecare Pharmacy.

In violation of 18 U.S.C. § 1001(a)(2).

COUNT EIGHT
(False Statements)

A. Introduction

1. The Grand Jury hereby realleges Paragraphs | through 8 and 10
of Count One of this Indictment and incorporates such paragraphs by this
reference as though fully set forth herein.

B. Offense

On or about May 10, 2016, in the Middle District of Florida and

elsewhere, the defendant,
FRANK VINCENT MONTE,

did knowingly and willfully make a materially false, fictitious, and fraudulent
statement and representation in a matter within the jurisdiction of the
executive branch of the Government of the United States by making false
statements at the United States Attorney’s Office for the Middle District of
Florida, in Tampa, Florida, to agents of the Federal Bureau of Investigation,

14
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 15 of 25 PagelD 15

Defense Criminal Investigative Service, Health and Human Services-Office of
Inspector General and others, stating that the off-site “pop-up” medical clinics
administered by Dr. Anthony Baldizzi at the DoubleTree Hotel in Tampa,
Florida were not initiated, planned, or paid for by Centurion. The statements
and representations were false because, as FRANK VINCENT MONTE then
and there knew, he and others, acting on behalf of Centurion, arranged, paid
for, and instructed Dr. Anthony Baldizzi and others to conduct off-site, pop-
up clinics at the DoubleTree Hotel in Tampa, Florida to promote the writing
of prescriptions for compounded medications marketed by Centurion and
filled at Lifecare Pharmacy.

In violation of 18 U.S.C. § 1001(a)(2).

COUNT NINE
(Conspiracy to Commit Money Laundering)

A. Introduction

1. The Grand Jury hereby realleges Paragraphs 1 through 8 of
Count One of this Indictment and incorporates such paragraphs by this

reference as though fully set forth herein.

B. The Conspiracy

2. Beginning on an unknown date, but at least as early as in or

15
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 16 of 25 PagelD 16

around May 2014, and continuing through and including the date of this
Indictment, in the Middle District of Florida and elsewhere, the defendants,

FRANK VINCENT MONTE
and
KIMBERLEY SUE ANDERSON,

did knowingly combine, conspire, and agree with each other and other
persons known and unknown to the Grand Jury to commit offenses against
the United States, in violation of Title 18, United States Code, Section 1957,
to wit: to knowingly engage and attempt to engage in monetary transactions in
and affecting interstate and foreign commerce, in criminally derived property
of a value greater than $10,000.00, which property was, in fact, derived from a
specified unlawful activity, namely, the offering and paying of health care
kickbacks, in violation of 42 U.S.C. § 1320a-7b(b)(2)(B), and the soliciting and
receiving of health care kickbacks, in violation of 42 U.S.C. § 1320a-
7b(b)(1)(A).
C. Manner and Means

3. The Grand Jury hereby realleges Paragraph 10 of Count One of

this Indictment and incorporates such paragraph by this reference as though

fully set forth herein.

All in violation of 18 U.S.C. § 1956(h).

16
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 17 of 25 PagelD 17

COUNTS TEN THROUGH TWELVE
(Illegal Monetary Transactions)

A. Introduction

1, The Grand Jury hereby realleges Paragraphs 1 through 8 and 10
of Count One of this Indictment and incorporates such paragraphs by this
reference as though fully set forth herein.

B. Offense

2. On or about the dates listed below, in the Middle District of

Florida and elsewhere, the defendant,
FRANK VINCENT MONTE,

did knowingly engage and attempt to engage in the monetary transactions
described below, and aided and abetted others in engaging in the monetary
transactions described below, in and affecting interstate and foreign
commerce, in criminally derived property of a value greater than $10,000.00,
which property was, in fact, derived from a specified unlawful activity,
namely, the offering and paying of health care kickbacks, in violation of 42

U.S.C. §§ 1320a-7b(b)(2)(B) and 1320a-7b(b)(1)(A), specifically:

17
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 18 of 25 PagelD 18

 

 

TEN July 31, 2014 $60,000.00 | 2011 Mercedes-Benz SLS
AMG, VIN
WDDRJ7HAXBA003145

 

ELEVEN | September 16, 2014 | $61,276.91 | 2012 Fisker Karma, VIN
YH4K16AA1CA000190

 

TWELVE | October 7, 2014 $380,461.48 | 2012 Lamborghini
Aventador LP 700-4, VIN
ZHWUCIZD6CLA00926

 

 

 

 

 

 

In violation of 18 U.S.C. §§ 1957 and 2.

COUNTS THIRTEEN THROUGH FIFTEEN
(IMegal Monetary Transactions)

 

A. Introduction

1, The Grand Jury hereby realleges Paragraphs 1 through 8 and 10
of Count One of this Indictment and incorporates such paragraphs by this
reference as though fully set forth herein.

B. Offense

2. On or about the dates listed below, in the Middle District of

Florida and elsewhere, the defendant,
KIMBERLEY SUE ANDERSON,
did knowingly engage and attempt to engage in the monetary transactions

described below, and aided and abetted others in engaging in the monetary

18
Case 8:18-cr-00142-MSS-JSS Document 1 Filed 03/27/18 Page 19 of 25 PagelD 19

transactions described below, in and affecting interstate and foreign
commerce, in criminally derived property of a value greater than $10,000.00,
which property was, in fact, derived from a specified unlawful activity,

namely, the offering and paying of health care kickbacks, in violation of 42

 

U.S.C. § 1320a-7b(b)(2)(B) and 1320a-7b(b)(1)(A), specifically:

 

 
  
  

 

 

 

 

 

 

 

 

 

 

 

: fansaction noun
THIRTEEN | August 15,2014 | $51,000.00 | 2010 Ferrari California
| Coupe, VIN
! ZFF65LJA0A0172052
|
FOURTEEN October 7, 2014 $71,135.10 | 2012 Porsche Panamera,
VIN
| WPO0AA2A78CL016698
|
FIFTEEN — | October 7, 2014 | $94,709.80 | 2009 Bentley Continental
| GT, VIN
| SCBCR73W69C059631
_ Inviolation of 18 U.S.C. §§ 1957 and 2.
| FORFEITURE
|
|
OL The allegations contained in Counts One through Fifteen are

incorporated by reference for the purpose of alleging forfeiture pursuant to 18
|

U.SIC. §§ 982(a)(1) and 982(a)(7).

| 2. Upon a conviction of a federal health care offense, including a

viol tion of 42 U.S.C. § 1320a-7b(b)(2)(B) and/or 18 U.S.C. § 1347, or

19
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 20 of 25 PagelD 20

conspiracy to commit such an offense, as alleged in Counts One through Six,
the defendants,

FRANK VINCENT MONTE
and
KIMBERLEY SUE ANDERSON,

shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(7), any
property, real or personal, that constitutes or is derived, directly or indirectly,
from gross proceeds traceable to the commission of the offense.

3. Upon a conviction of a violation of 18 U.S.C. § 1956(h), as
alleged in Count Nine, the defendants,

FRANK VINCENT MONTE
and
KIMBERLEY SUE ANDERSON,

shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(1), any
property, real or personal, involved in such offense and any property traceable
to such property.

4. Upon conviction of a violation of 18 U.S.C. § 1957, ora
conspiracy to commit such offense, as alleged in Counts Nine through
Twelve, the defendant,

FRANK VINCENT MONTE,

20

 
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 21 of 25 PagelD 21

shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(1), any
property, real or personal, involved in such offense, or any property traceable
to such property.

5. Upon conviction of a violation of 18 U.S.C. § 1957, ora
conspiracy to commit such offense, as alleged in Counts Nine and Thirteen
through Fifteen, the defendant,

| KIMBERLEY SUE ANDERSON,
shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(1), any
property, real or personal, involved in such offense, or any property traceable
to such property.

6. The property to be forfeited includes, but is not limited to, the
following:

a. An order of forfeiture in the amount of the proceeds
obtained from the health care offenses, as well as the

amount involved in the money laundering offenses;

b. 2010 Ferrari California coupe, VIN:
ZFF65LJA0A0172052, titled to Kimberley Sue Anderson;

c. 2012 Lamborghini Aventador LP 700-4, VIN:
ZHWUCIZD6CLA00926, titled to Frank Vincent Monte;

| d. 2012 Itasca Motor Home, VIN: 4UZFCUCY4BCBH2022,
titled to Frank Vincent Monte;

21
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 22 of 25 PagelD 22

e. 2013 McLaren 12C Spider Convertible, VIN:
SBM11BAA3DW002596, titled to Kimberley Sue
Anderson;

f. 2011 Mercedes-Benz SLS AMG, VIN:
WDDRJ7HAXBA003145, titled to Frank Vincent Monte;

g. 2012 Porsche Panamera, VIN: WPOAA2A78CL016698,
titled to Kimberley Sue Anderson;

h. 2014 Maserati, VIN: ZAM45VLAXE0122209, titled to
Centurion Holding, Inc., and Frank Vincent Monte;

1. 2005 Ford GT, VIN: 1FAFP90SX5Y400075, titled to
Frank Monte;

j. 2009 Bentley Continental GT, VIN:
SCBCR73W69C059631;

k. 2012 Fisker Karma, VIN: YH4K16AA1CA000190;

I. The real property located at 27616 Sora Boulevard,
Wesley Chapel, Florida 33544;

m. The real property located at 8147 Swiss Chard Circle,
Land O Lakes, Florida 34637;

n. The real property located at 617 Bahia Beach Boulevard,
Ruskin, Florida 33570;

O. The real property located at 422 Bahia Beach Boulevard,
Ruskin, Florida 33570;

p. The real property located at 5025 N. Vaughn Road, Plant
City, Florida;

q. The real property located at 5811 Beverly Drive, Hudson,
Florida; and

22
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 23 of 25 PagelD 23

I. Approximately $8,730.50 in funds seized from JPMorgan
Chase Account Number 653683990, held in the name of
Centurion Holding, Inc.
7. If any of the property described above, as a result of any act or

omission of the defendants:

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third
party;

C. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be

divided without difficulty;

23

 
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 24 of 25 PagelD 24

the United States shall be entitled to forfeiture of substitute property under the

provisions of 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1).

A TRUE BILL,

Foreperson

MARIA CHAPA LOPEZ
United States Attorn

  
  

 

anda L. Riedel

Assistant United States Attorney |

 

 

Assistant United States Attorney
Chief, Economic Crimes Section

24
Case 8:18-cr-00142-MSS-JSS Document1 Filed 03/27/18 Page 25 of 25 PagelD 25

FORM OBD-34
March 18 No. FILED

 

UNITED STATES DISTRICT COURT
Middle District of Florida

 

Tampa Division INB MAR 27 PH 4:56
THE UNITED STATES OF AMERICA mene LERIDE
VS.

FRANK VINCENT MONTE and
KIMBERLEY SUE ANDERSON

 

INDICTMENT

Violations: 18 U.S.C. §§ 371, 1001, 1956(h), and 1957,
and 42 U.S.C. § 1320a-7b(b)(2\'B)

 

 

Filed in open court this 27th day

of March 2018.

 

BO Clerk

 

Bail $

 

 

GPO 863 525
